     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 1 of 17




                                                EXHIBIT A

                     IRREVOCABLE REVERSIONARY INTER VIVOS
                   MEDICAL CARE TRUST FOR THE BENEFIT OF N.E.D.

                                               Article I
                                    The Establishment of the Trust

        This Irrevocable Reversionary Inter Vivos Medical Care Trust ("Trust") is established
following a Judgment entered on February 22, 2021 by the United States District Court for the
District of New Mexico in Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-
JHR (D.N.M) (Dkt. No. 277), and in accordance with the Court’s Findings of Fact and
Conclusions of Law dated July 27, 2020 (Dkt. No. 267) and Memorandum Opinion and Order
dated February 12, 2021 (Dkt. No. 276). The Findings of Fact and Conclusions of Law of July
27, 2020 (Dkt. No. 267) and the Memorandum Opinion and Order dated February 12, 2021 are
attached hereto and incorporated herein by reference.

                                             Article II
                                     The Purpose of the Trust and
                                    Compliance With Court Orders

       The sole purpose of the Trust is to pay those future medical expenses of N.E.D.
(hereinafter "Beneficiary") as specified, and to the extent determined, by the District Court in its
Findings of Fact and Conclusions of Law dated July 27, 2020 (Dkt. No. 267) and Memorandum
Opinion and Order dated February 12, (Dkt. No. 276), in Murphy, et al. v. the United States of
America, No. 1:17-cv-384-JAP-JHR (D.N.M.), as more specifically defined as “Allowable
Medical Expenses” in Article VII of the Trust.


                                              Article III
                                      The Beneficiary of the Trust

        The “Beneficiary” of the Trust is N.E.D. (DOB 11/10/09). During all periods of minority
or legal incapacity, the Beneficiary’s legal representative shall act on behalf of the Beneficiary.
For purposes of the Trust, the term “legal representative” means any individual or entity
authorized by law or court order to act on behalf of the Beneficiary for purposes of carrying out
the terms and conditions of the Trust, including the Beneficiary's attorney, parent, legal guardian,
guardian, guardian ad litem, and conservator. In the event the Beneficiary has more than one
“legal representative,” the Trustee and Administrator are entitled to rely upon the signatures,
statements, or actions of any one of the legal representatives in carrying out the terms of the
Trust, absent a final court order to the contrary, provided that such Court order has first been
presented to the Trustee and Administrator.




________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 2 of 17




                                              Article IV
                                        The Duties of Beneficiary

        The Beneficiary has the duty and responsibility to (1) cooperate with the Trustee and
Administrator the extent the terms of the Trust require the Trustee and Administrator to obtain
the cooperation of the Beneficiary in carrying out their respective duties and responsibilities; (2)
submit requests for payment of medical expenses as required by the Trust; (3) provide
signatures, authorizations, releases, documentation, or information necessary for the carrying out
of the terms of the Trust; and (4) transmit to the Trust Estate any amount received by the
Beneficiary or her guardian from another source of payments or benefits in reimbursement for,
or payment of, an expense that has been paid or will be paid from the Trust Estate.

                                              Article V
                             The Sole and Exclusive Remainder Interest
                                  in the Trust and the Trust Estate

        The United States of America has the sole and exclusive remainder interest in the Trust
and the Trust Estate, effective upon the termination of the Trust, as provided in Article XX of the
Trust. In order to protect its remainder interest, the United States is entitled to certain rights
under the terms of the Trust, as provided in the Trust.

                                                Article VI
                                             The Trust Estate

Section A. Definition of the Trust Estate

        The Trust Estate is defined to mean the amount awarded to the Beneficiary for “medical
care and related future medical expenses” as stated in the Judgment entered February 22,
2021 (Dkt. No. 277) in accordance with the Findings of Fact and Conclusions of Law dated July
27, 2020 (Dkt. No. 276) of the United States District Court for the District of New Mexico
in Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.), after the
Judgment is paid by the United States of America and any costs and fees are deducted, together
with any interest or income earned by the Trust on Trust Estate investments during the existence
of the Trust.

Section B. Date the Trust Is Deemed Established

        The Trust shall be deemed established on the date all of the following conditions have
been completed: (1) the amount of the Final Judgment required to be placed into the Trust has in
fact been deposited with the Trustee; (2) the Trustee has deposited said amount into a
separate account opened by the Trustee in the name of the Trust; and (3) the Beneficiary is
alive at the time said amount is deposited into said separate account. No rights, obligations, or
duties are created until the date the Trust is deemed established.



________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 3 of 17




                                               Article VII
                                           Allowable Expenses

Section A. Definition of Allowable Expenses

       Allowable expenses are defined to mean the medical care and related expenses of the
Beneficiary that are: (1) specified in the Findings of Fact and Conclusions of Law dated July 27,
2020 (Dkt. No. 276) of the United States District Court for the District of New Mexico in
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.); (2)
consistent with the Medical Malpractice Act, NMSA Section 41-5-3(D) (defining “[M]edical
care and related expenses” as “all reasonable medical, surgical, physical rehabilitation and
custodial services and includes drugs, prosthetic devices and other similar materials reasonably
necessary in the provision of such services.”), (3) incurred on or after July 27, 2020 and up to
her death,; and (4) for the benefit of the Beneficiary and/or are expended on her behalf

Section B. Enumeration of Allowable Expenses

        In accordance with the Findings of Fact and Conclusions of Law dated July 27, 2020
(Dkt. No. 267) of the United States District Court for the District of New Mexico in
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.), “allowable
expenses” are (1) neuropsychology evaluations through age 21; (2) physical therapy,
occupational therapy, and speech therapy throughout Beneficiary’s lifetime; (3) in addition to the
Beneficiary’s other therapies, before the age of twenty-one (21) at least one stay at a pediatric
rehabilitation center such as the Kennedy Krieger Institute in Baltimore, Maryland; (4) routine
and specialty medical care, routine medications, diagnostic studies, and lab work throughout the
Beneficiary’s lifetime; (5) case management services for the Beneficiary’s care coordination
throughout Beneficiary’s lifetime; (6) a subacute residential adolescent program for a period of
up to six months before age twenty-one (21); (7) medical supplies, durable medical equipment
and adaptive aids for independent functioning throughout the Beneficiary’s lifetime; (8) sixteen
hours per day care from a home health aide or other equivalent caregiver, both in childhood and
adulthood, for as long as Beneficiary remains in her family home (the appropriate hourly rate for
such care was found by the Court to be presently thirty-five dollars per hour); (9) fulltime
adult residential placement when the Beneficiary can no longer be cared for in her family home;
and (10) respite care for the Beneficiary while she resides at home.

                                           Article VIII
                             Appointment of Trustee and Administrator

Section A. The Appointment of the Trustee

        Pursuant to the attached Order, New Mexico Bank and Trust located in Albuquerque,
New Mexico is appointed as the “Trustee” of the Trust. Subject to Article XII of the Trust, the
Trustee shall act as the Trustee and perform its fiduciary duties and responsibilities as defined by
the terms of the Trust. Subject to Article X, the term “Trustee” includes the present Trustee and
any successor of said Trustee, whether by appointment pursuant to the Trust, or by way of
merger, consolidation, transfer of Trust business, or otherwise.
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 4 of 17




Section B. The Appointment of the Administrator

        Pursuant to the attached Order, Integrion Group located in Albuquerque, New Mexico is
appointed as the “Administrator” of the Trust. Subject to Article XI of the Trust, the
Administrator shall act as the Administrator and perform its fiduciary duties and responsibilities
as defined by the terms of the Trust. Subject to Article X, the term “Administrator” includes the
present Administrator and any successor of said Administrator, whether by appointment pursuant
to the Trust, or by way of merger, consolidation, or transfer of business.

                                          Article IX
                     Resignation or Removal of the Trustee or Administrator

Section A. Right of Resignation

        The Trustee shall have the right to resign at any time upon giving ninety days written
notice of such resignation to the supervising court, the Beneficiary, the Administrator, and the
United States Department of Justice’s Torts Branch (FTCA Staff). The Administrator shall have
the right to resign at any time upon giving ninety days written notice of such resignation to the
supervising court, the Beneficiary, the Trustee, and the United States Department of Justice’s
Torts Branch (FTCA Staff). An entity that is acting as both the Trustee and the Administrator
shall have the right to resign from either or both appointments upon giving ninety days written
notice of such resignation to the supervising court, the Beneficiary, and the United States
Department of Justice’s Torts Branch (FTCA Staff).

Section B. Removal of the Trustee or the Administrator

        The United States District Court for the District of New Mexico shall have the exclusive
right to remove a Trustee or an Administrator upon sixty days written notice to the Trustee, the
Administrator, the Beneficiary, and the United States Department of Justice’s Torts Branch
(FTCA Staff).

Section C. Return of Unearned Fees

        In the event the Trustee or an Administrator resigns or is removed from office, the
resigning or removed Trustee or Administrator, prior to leaving the service of the Trust, shall
return that portion of payments made to it during the Trust accounting period which represents
unearned income. For purposes of the preceding sentence, “unearned income” shall mean the pro
rata portion of all payments made to the resigning or removed Trustee or Administrator for
which services have not been rendered. In the case of annual payments, this amount shall be
determined by multiplying the annual payments by a fraction, the numerator of which is the
number of whole months during that period in which services were not rendered, and the
denominator of which is 12. In the case of quarterly payments, this amount shall be determined
by multiplying the quarterly payment by a fraction, the numerator of which is the number of
whole months during that period in which services were not rendered, and the denominator of
which is 3.
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 5 of 17




Section D. Transfer of the Trust Estate and the Trust Files

        Any Trustee that resigns or is removed shall transfer and deliver to its successor the then
existing entire Trust Estate in its possession, along with all Trust documents and records in its
possession. Upon such transfer, the Trustee shall be discharged as Trustee of the Trust and shall
have no further powers, discretion, rights, obligations, or duties with reference to the Trust
Estate, and all such powers, discretion, rights, obligations, and duties of the resigning Trustee
shall inure to and be binding upon such successor Trustee.

        Any Administrator that resigns or is removed shall transfer and deliver to its successor
the then-existing Trust documents and records in its possession.

        The foregoing notwithstanding, nothing contained in this Section D shall be deemed to
discharge or release any Trustee or Administrator that resigns or is removed from liability for its
acts or omissions.

                                             Article X
                                 Successor Trustee or Administrator

Section A. Appointment of Successor Trustee or Administrator

       In the event the Trustee or the Administrator resigns, refuses or is unable to act, or is
removed, the United States District Court for the District of New Mexico shall appoint in writing
a successor within sixty days of receiving written notice of resignation or within sixty days of
removal, upon consultation with the Beneficiary and the United States Department of Justice’s
Torts Branch (FTCA Staff). Any Order appointing a successor Trustee or Administrator shall be
entered as a final, appealable order pursuant the Federal Rules of Civil Procedure.

Section B. Qualifications of a Successor Trustee

        A successor Trustee appointed pursuant to this Article X shall be a corporate Trustee,
shall be duly licensed to act in that capacity, and shall have a combined capital and surplus equal
to or exceeding that of the predecessor Trustee unless the United States District Court for the
District of New Mexico determines, upon notice and hearing, that a lesser combined capital or
surplus is acceptable and does not jeopardize the long-term viability of the Trust.

Section C. Duties, Rights, Responsibilities, and Powers of Successors

      A successor Trustee or Administrator shall have all the duties, rights, responsibilities, and
powers provided by the Trust.

Section D. Liability of Successors

        A successor Trustee or Administrator shall not be liable or responsible in any way for the
acts or omissions of any predecessor Trustee or Administrator or for any loss or expense
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 6 of 17




occasioned by any act or omission of any such predecessor. The successor Trustee or
Administrator shall be liable for its own acts or omissions in respect to property actually received
or duties, responsibilities, and powers assumed by it as the successor. The foregoing
notwithstanding, nothing contained in this Section D shall be deemed to discharge or release any
predecessor Trustee or Administrator from liability for its acts or omissions.

                                             Article XI
                            The Duties of the Trustee and Administrator

Section A. Determine Whether a Request for Payment is Authorized by Trust

        The Trustee shall have the duty and responsibility to determine whether a request for
payment of a medical expense is authorized by Article VII of the Trust subject to the approval of
the Administrator and in accordance with the allowable expenses permitted by the New Mexico
Medical Malpractice Act. The Administrator shall have the duty to review all proposed
distributions from the trust to ensure that the proposed distributions are allowable expenditures
as defined by Article VII of the Trust, consistent with the purpose of the Trust and in compliance
with applicable court orders.

        The Trustee shall require each request for payment of a medical expense to be submitted
to the Trustee within ninety days of the date the medical goods or medical services for which
payment is being requested were provided, unless the provider of such goods or services, or the
Beneficiary, demonstrates good cause for a submission after the ninety-day period. A request for
payment of any medical expense must be in writing on a form provided by the Trustee. A request
for payment may be submitted by either the Beneficiary or a provider of the medical goods or
medical services if the Beneficiary has consented to the provider billing the Trust directly. The
Beneficiary may arrange with the Trustee for the advance authorization of medical expenses.
Except for requests for payment where advance authorization has already been obtained, each
request for payment of a medical expense must be signed by the Beneficiary.

        The Trustee shall require that each request for payment of a medical expense include a
detailed bill or statement from the provider of the medical goods or medical services for which
payment is being sought, along with sufficient information for the Trustee to determine whether
such goods or services are authorized by Article VII of the Trust and to determine the amount to
be paid from the Trust Estate. The Trustee is authorized to contact the provider of the medical
goods or medical services in order to verify that such goods or services were provided to or on
behalf of the Beneficiary and to obtain any additional information or documentation necessary
for the Trustee to complete its determination. In making a determination, the Trustee shall have
the right to rely upon the information submitted by the Beneficiary or provider of such medical
goods and services. The Trustee shall have no duty or obligation to determine the qualifications
of the providers of such medical goods and services or whether any payments made to the
Beneficiary are actually used by or for the Beneficiary's medical care. The Trustee is not required
to obtain an order or approval from any court, except as required by the Trust, in determining
whether a request for payment of medical expenses is authorized, in whole or in part, by Article
VII of the Trust. The Trustee shall not be liable in money damages for any discretionary payment
or other loss that occurs other than through its own fault or negligence.
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 7 of 17




        The Trustee shall complete its review and make its determination within thirty days of
receipt of a request for payment and the supporting documentation and information. In the event
the Trustee cannot complete its review and make a determination within the thirty-day period,
the Trustee shall have an additional thirty days to complete said review and to make said
determination, provided written notice of such extension is provided to the Beneficiary.

        In the event the Trustee determines that a request for payment of a medical expense is not
authorized by Article VII of the Trust, the Trustee shall provide a detailed written notification of
said determination to the Beneficiary within five business days of the determination. The
Beneficiary shall have ninety days from the date the Beneficiary receives the written notification
of the determination to object. The Beneficiary waives any objection the Beneficiary has or
might otherwise have with respect to the determination if the Beneficiary does not object within
the ninety-day period. Objections shall not be unreasonably made.

Section B. Notify Administrator of an Allowable Medical Expense

       After the Trustee has determined that a request for payment of a medical expense is
authorized by Article VII of the Trust, the Trustee shall notify the Administrator in writing of the
amount to be paid from the Trust Estate and the name of the person or entity to whom such
payment is to be made. If the Administrator determines that the proposed expenditure is not
an allowable expense as defined by this Trust, the Administrator shall notify the Trustee within
ten days of being notified of the proposed expenditure. If the Administrator determines that the
proposed expenditure is not an allowable expense and notifies the Trustee in a timely manner,
the expenditure shall not be made.

Section C. Assist the Beneficiary in Applying for Payments From the Trust Estate

      The Trustee shall provide the Beneficiary with assistance in applying for payment of
medical expenses from the Trust Estate.

                                              Article XII
                                    Additional Duties of the Trustee

Section A. Open Separate Account and Manage the Trust Estate

        The Trustee shall open a separate account in the name of the Trust and deposit into such
account the amount received pursuant to the Final Judgment in Murphy, et al. v. the United
States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.).

        The Trustee agrees to accept, hold, manage, invest, administer, and distribute the Trust
Estate according to the terms of the Trust within the powers provided to the Trustee.




________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 8 of 17




Section B. Make Payments From the Trust Estate

       The Trustee shall pay from the trust estate any medical expense that it determines to be
an allowable expense as defined by this trust provided that the Administrator has not
disapproved of such expenditure. The Trustee shall not pay any request for payment of medical
expenses that has been disapproved by the Administrator.

       In addition to making payments pursuant to Paragraph 1, above, the Trustee shall also
pay the other expenses of Trust administration to the extent authorized in Article XIII of the
Trust.

        The Trustee shall make payments authorized by the Trust first out of the income
generated by the Trust Estate. In the event the income of the Trust Estate is insufficient in any
single calendar year to make the payments authorized by the Trust, the Trustee, in its discretion,
may invade the principal of the Trust Estate. However, the Trustee may not invade the principal
($150,000.00) in any single calendar year without giving prior written notice to the Beneficiary,
and the United States Department of Justice’s Torts Branch (FTCA Staff). The purpose of the
notification requirement is to advise the Beneficiary, and the United States to permit them to
question payment requests that may jeopardize the long-term viability of the Trust Estate. The
mere fact that such notice is given, however, shall not affect the obligation of the Trustee to
make payments that are otherwise authorized by the Trust. At the end of each calendar year, any
income that has not been disbursed, expended, reserved, or otherwise accumulated, shall be
accumulated and added to the Trust Estate as principal. In the event the income and principal of
the Trust Estate are insufficient in any single calendar year to make the payments authorized by
the Trust, the Trustee shall make payments only to the extent funds are available in the Trust
Estate. The Trustee shall not borrow from any source to make payments when the income and
principal of the Trust Estate are insufficient in any single calendar year to make the payments
authorized by the Trust. In the event the Trust Estate becomes Zero Dollars ($0.00) and there is
no income due in the future, the Trust shall be deemed terminated and the Trustee shall apply to
the United States District Court for the District of New Mexico for authority to close the Trust
according to the procedures set forth in Article XX.

         To the extent the United States District Court for the District of New Mexico requires
prior court approval before the Trustee is authorized to make certain payments from the Trust
Estate, the Trustee shall file a motion with said Court for authorization before making such
payments. The Trustee shall not be liable in money damages for any payment or other loss that
occurs other than through its own fault or negligence. Until the Trustee has received, at the
location where the Trust Estate is being administered, written notice of the Beneficiary's death or
of any other event upon which the right of payments may depend, the Trustee shall incur no
liability for making payments authorized by the Trust.

Section C. Recover or Recoup Payments

      In the event the Trustee determines that a payment from the Trust Estate should not have
been made, should have been made in a lesser amount, or the Beneficiary has been reimbursed

________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
     Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 9 of 17




from another source of benefits for such payment, the Trustee shall offset the amount of such
payment to the extent of the overpayment. The Trustee is also authorized to take reasonable
legal action as may be necessary to recover or recoup the amount of a payment that should not
have been made or the amount of an overpayment, including any amount in excess to the amount
that should have been paid or any amount for which there has been payment or reimbursement
from another source.

Section D. Maintain Files and Render Statements of Account

        The Trustee shall obtain and retain in its files a copy of the receipts and itemizations for
all expenses paid by the Trust Estate. The Trustee shall also maintain a system of accounting and
books of account with respect to the income, expenses, and assets of the Trust Estate which
conform to the generally accepted principles and practices of accounting. The Trustee shall
permit the Court, the Beneficiary, the Administrator, the United States Department of Justice’s
Torts Branch (FTCA Staff), and their designated representatives to examine all accounts, files,
and documents relating to the Trust and the Trust Estate. The Trustee shall render a statement of
the administration of the Trust Estate to the United States District Court for the District of New
Mexico, the Administrator, the Beneficiary and the United States Department of Justice ’s Torts
Branch (FTCA Staff). The statement shall be made at least quarterly. Copies of all tax filings, if
any, filed on behalf of the Trust Estate shall similarly be furnished.

        The Beneficiary and the United States Department of Justice’s Torts Branch (FTCA
Staff) shall each have ninety days from the date of receipt of each statement to object thereto.
The failure of the United States or the Beneficiary to object to an item on a statement or to a
particular payment noted in the statement shall be conclusive as to such item or payment but
shall not preclude the United States or the Beneficiary from objecting to like items or payments
appearing in future statements. Objections shall not be unreasonably made. Unless the party
making a timely objection withdraws such objection, the party is entitled to renew the objection
at the court’s review and approval of the annual statement for the prior calendar year, as
provided in Section E, below.

Section E. Annual Approval by United States District Court

       By February 15, of each calendar year, the Trustee shall render a statement of account for
the previous calendar year and deliver a copy of such annual statement of account to the United
States District Court for the District of New Mexico, the Administrator, the Beneficiary and the
United States Department of Justice’s Torts Branch (FTCA Staff).

        The Beneficiary, the Administrator, and the United States shall each have thirty days
from the date of receipt of said statement to file an objection with the court to payments reflected
in the annual statement of account. Thereafter, the Court may set a date for a hearing on the
motion.




________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 10 of 17




                                             Article XIII
                                       The Powers of the Trustee

        The Trustee shall have the following enumerated powers:

        To pay allowable medical expenses from the Trust Estate to the extent authorized by
Article VII of the Trust.

        To employ at its option and with prior consent of the Beneficiary any person or business
for the purpose of providing allowable medical services to or for the Beneficiary, provided the
Trustee determines that employment by the Trust directly is more economical than paying a third
party to arrange for the provision of such services and that it will not detract from the quality of
medical services provided to the Beneficiary.

        To continue to make distributions of income and/or to accumulate the same hereunder
until the Trustee shall have received written notice of any event which would affect such
distribution and/or such accumulation of income; and the Trustee shall not be liable to any
person having any interest in such continuation until the Trustee shall have received such written
notice.

        To pay or reserve sufficient funds to pay all expenses related to the management and
administration of the Trust, including all assessments, charges, fees, taxes, or other expenses
incurred in the administration, enforcement, or protection of the Trust and the Trust Estate not
otherwise precluded by state law or any other provision of the Trust. Such expenses shall include
the fees of the Trustee and the Administrator to the extent authorized in Article XIV of the Trust.
The Trustee shall not pay any fees, legal or otherwise, any costs, or any expenses relating to the
establishment, administration, or termination of a guardianship or conservatorship for the
Beneficiary. The Trustee shall not pay any fees, legal or otherwise, any costs, or any expenses
incurred by either the Beneficiary or United States in resolving any disputes, questions, or
interpretations arising under the Trust. The Trustee shall not pay any fees, legal or otherwise,
any costs, or any expenses incurred by the Beneficiary in seeking or obtaining benefits from any
source of benefits other than the Trust. In the event the Trustee must retain legal counsel to
represent the interests of the Trustee, the Administrator, or the Trust Estate in resolving any
dispute, question, or interpretation arising under the Trust or to represent the Trustee, the
Administrator, or the Trust Estate in the administration or protection of the Trust and the Trust
Estate or for the purpose of enforcing the terms of the Trust, the Trustee is prohibited from
retaining any attorney or law firm who represents or has represented the Beneficiary or any
relative of the Beneficiary or any guardian or conservator of the Beneficiary unless the Trustee
can demonstrate to the District Court and the United States Department of Justice’s Torts Branch
(FTCA Staff) by clear and convincing evidence that there is no actual conflict of interest, no
apparent conflict of interest, and no appearance of a conflict of interest between said attorney or
law firm and the interests of the United States as the remainder interest in this Trust. The Trustee
must take into account that this Trust was established by the United States District Court for the
District of New Mexico pursuant to the Final Judgment in Murphy, et al. v. the United States of
America, No. 1:17-cv-384-JAP-JHR (D.N.M.), and as such the terms of the Judgment and this
Trust are final and binding on the parties to that action, including the Beneficiary of this Trust,
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 11 of 17




the United States as sole and exclusive remainder interest, and the District Court.

       To retain any property held in the Trust Estate for as long as the Trustee shall deem it
advisable, provided the Trustee takes into account the purpose of the Trust.

        To invest and reinvest in, and to acquire by purchase, exchange, or otherwise, intangible
property such as stocks, bonds, securities, mutual funds, certificates of deposits, bank savings or
checking accounts, foreign or domestic, or interests of participation therein (including common
Trust Estate funds and mutual funds associated with the Trustee), without regard to the
proportion any such property may bear to the entire amount held without any obligation to
diversify, to the extent consistent with the purpose of the Trust and prudent investment rules. In
the event the Trust Estate is less than One Hundred Thousand Dollars ($100,000.00) for three
consecutive years and there is no reasonable basis to expect that the Trust Estate shall
subsequently exceed One Hundred Thousand Dollars ($100,000.00), the Trustee may limit Trust
investments to certificates of deposit and bank savings and checking accounts in an FDIC
insured financial institution. The Trustee may receive compensation from internal funds.
Investments in such internal funds may be charged fees and expenses at the rate and according to
the formula set forth in the prospectus applicable to the investment. The Trustee may also use the
services of affiliated brokerage services as it deems appropriate in its sole discretion in
connection with the purchase or sale of account assets. Any such transactions will be deemed
appropriate, even where the Trustee has an underwriter's interest or charges fees or commissions
which include a profit, so long as all such transactions are on terms and under circumstances
comparable to those generally available through non-affiliated brokers. The Trustee shall attempt
to invest all principal sums in excess of One Thousand Dollars ($1,000.00).

       To sell (at public or private sale, without application to any court) any property in the
Trust Estate in such manner and on such terms and conditions as it may deem best to the extent
consistent with the purpose of the Trust and prudent investment rules.

        To vote personally or by proxy any shares of stock or other voting securities at any time
held hereunder, and to consent to and participate in any reorganization, consolidation, merger,
liquidation, or other change in any corporation whose stocks or securities may at the time be held
hereunder.

       To commingle the assets of the Trust Estate with the assets of other trusts not owned by
or property of the Beneficiary in order to maximize the investment income of the Trust Estate.

       Except to the extent prohibited by law, to cause any securities to be registered in the
names of its nominees, or to hold any securities in such condition that they will pass by delivery,
including the use of custodians and other depositories.

        To liquidate, compromise, adjust, and settle any and all claims and demands, including
taxes, in favor of or against the Trust Estate, for such amounts, upon such terms, in such manner,
and at such time as the Trustee shall reasonably deem advisable upon the consent of the United
States District Court for the District of New Mexico.

________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 12 of 17




        To allocate to principal all stock dividends and cash in lieu of fractional shares paid as a
result of a stock dividend received on stock.

        Except as otherwise specifically provided herein, the determination of all matters with
respect to ascertaining what is principal and income of the Trust Estate and the apportionment or
allocation of receipts and expenses between these accounts shall be governed, at the election of
the Trustee, by the provisions of either the Uniform Principal and Income Act from time to time
existing or the Principal and Income Act of the state in which the Trustee resides. Any such
matter not provided for herein, or not provided for in the Principal and Income Act elected by the
Trustee, shall be determined by the Trustee in the Trustee's sole discretion.

        To petition the United States District Court for the District of New Mexico to (a) resolve
any dispute or question arising under the Trust in the event the parties to the dispute or question
have attempted to resolve the matter informally as required by the Trust and failed, (b) protect
the interests of the Trust Estate, and (c) to seek authority to take reasonable legal action as may
be necessary to enforce the terms of the Trust, to seek reimbursement to the Trust Estate for an
overpayment, or to collect payments from other sources of payment.

                                         Article XIV
                       Compensation of the Trustee and the Administrator

        The Trustee and the Administrator shall receive as compensation for their services such
commissions and fees as are payable in accordance with their schedule of fees in effect from
time to time during the period in which its services are rendered. However, neither the Trustee's
nor the Administrator ’s compensation may not be changed without prior approval of the United
States District Court for the District of New Mexico, after due notice of any such request for
Court approval has been served on the Beneficiary and the United States Department of Justice’s
Torts Branch (FTCA Staff).

                                                Article XV
                                               Bond Excused

       The Trustee and the Administrator, and their successors, shall not be required to give
bond or any other undertaking for the faithful performance of its duties hereunder, any law to the
contrary notwithstanding.

                                              Article XVI
                                          Spendthrift Provision

        No title or interest in the money or other property constituting the Trust Estate, or in any
income accruing therefrom or thereon, shall vest in the Beneficiary during the continuance of the
Trust Estate. The Beneficiary shall have no right, power, or authority to anticipate any income of
the Trust Estate, payments into the Trust Estate, or any payments from the Trust Estate; or to
alienate, convey, transfer, or dispose of the same or any interest therein or any part thereof in
advance of payment. None of the principal or income of the Trust Estate, payments into the Trust
Estate, nor any payments from the Trust Estate shall be involuntarily alienated by the
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 13 of 17




Beneficiary or be subject to attachment, execution, or levy, or taken upon any process for any
debts that the Beneficiary may have contracted, or in satisfaction of any demands or obligations
that the Beneficiary may have incurred.

                                            Article XVII
                                     Notification Requirements
        The following are deemed to be interested parties to the Trust. All notices, statements,
statements of account, objections, filings, service of legal papers, and mailings required or
permitted by the provisions of the Trust shall be in writing and shall be sent, on a timely basis, to
the interested parties at the following addresses or, upon written notice, any subsequent change
of address:

BENEFICIARY:
N.E.D.

TRUSTEE:
The Irrevocable Reversionary Inter Vivos Medical Care Trust FBO N.E.D.
c/o Camilla Serrano, CTFA, Senior Vice President
New Mexico Bank and Trust


ADMINISTRATOR:
Integrion Group, Inc.
P.O. Box 27815
Albuquerque, NM 87125

UNITED STATES OF AMERICA:
Director, Torts Branch (FTCA Staff) Civil Division
United States Department of Justice
P.O. Box 888
Benjamin Franklin Station Washington, D.C. 20044
(202) 616-4400
(202) 616-5200 (fax)

        The interested parties shall each be responsible for providing each other with timely
written notice of any change in address or phone number. The Beneficiary shall give timely
written notice of a guardianship or conservatorship or change thereof. Any notification shall be
deemed given when posted by regular United States Mail addressed to the last known address.
Service of any legal papers shall comply with the rules of the court in which the action or
proceeding is filed and shall be made upon all interested parties at the addresses provided above
or any subsequent change of address that has been provided, unless a party is represented by
counsel, in which case service shall be upon counsel.




________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 14 of 17




                                               Article XVIII
                                                 Disputes

Section A. Informal Dispute Resolution Requirement

         If a dispute or question of interpretation arises over the terms or administration (including
investments) of the Trust, the Trustee, the Administrator, the Beneficiary, and the United States
shall first try to resolve such dispute or question informally among themselves before litigating
the matter. If the dispute or question of interpretation cannot be resolved informally, the Trustee,
the Administrator, the Beneficiary, or the United States may have said dispute or question
resolved by only the United States District Court for the District of New Mexico.

Section B. Applicable Law

        The Trust was established pursuant to final and binding Final Judgment against the
United States of America in Murphy, et al. v. the United States of America, No. 1:17-cv-384-
JAP-JHR (D.N.M), and shall therefore be construed according to federal law. To the extent not
contrary to the terms and conditions of the Trust, the duties of the Administrator shall be
construed according to the laws of the state in which the Administrator is domiciled and the
duties and powers of the Trustee shall be construed according to the laws of the state in which
the Trustee is domiciled.

Section C. Court of Competent Jurisdiction

        The United States District Court for the District of New Mexico shall have exclusive
jurisdiction over any disputes or questions of interpretation arising under the terms and
conditions of the Trust. However, pursuant to the Order establishing the Trust, the terms and
conditions of the Trust shall not be amended, changed, or modified in any way and shall not be
subject to any interpretation by the Court that is contrary to, or in conflict with, the Final
Judgment or Findings of Fact and Conclusions of Law dated July 27, 2020 (Dkt. No. 267) in
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M).

Section D. Court Costs, Expenses, and Fees

        The Trust shall not pay any fees (including attorney's fees or guardian/conservator fees),
expenses, or costs incurred by the Beneficiary or the United States in resolving any dispute
arising under the terms and conditions of the Trust. However, nothing in this Section D
precludes the District Court from ordering costs, expenses, and fees to be paid by a party to a
dispute to the extent otherwise authorized by law. The fact that the United States has a remainder
interest in this Trust is not, and shall not be construed to be, a waiver of any legal limitations
applicable to awards of costs, fees, or expenses against the United States, recognizing that any
dispute or question of interpretation is arising out of a tort claim against the United States that
resulted in a final, binding Judgment against the United States.



________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 15 of 17




                                             Article XIX
                                       Revocation or Amendment

        The Trust is irrevocable and, pursuant to the Order establishing the Trust, the terms and
conditions of the Trust shall not be amended, changed, or modified in any way and shall not be
subject to any interpretation by the Court that is contrary to, or in conflict with, the Final
Judgment or Findings of Fact and Conclusions of Law dated July 27, 2020 (Dkt. No. 267) in
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M).

                                             Article XX
                                       Termination of The Trust

Section A. Terminating Event

       For purposes of the Trust, the "terminating event" shall be defined as the death of the
Beneficiary or when the Trust Estate becomes Zero Dollars ($0.00) and there are no income or
annuity payments due in the future, whichever occurs first. Upon the occurrence of either
terminating event, the Trust shall be deemed terminated and the Trustee shall file a motion with
the United States District Court for the District of New Mexico for authority to terminate the
Trust and close the files.

Section B. Payments Authorized After Terminating Event

Upon the death of the Beneficiary, the Trustee shall pay any medical expenses authorized
by the Administrator under Article VII of the Trust to the extent there are sufficient funds in the
Trust Estate, provided that the medical goods or services for which payment is requested were
incurred on or before the date of the Beneficiary's death and provided further that the request for
payment was properly submitted to the Administrator for review within ninety days of the date
of the death of the Beneficiary. The Administrator shall not authorize and the Trustee shall not
pay any medical expense that was not properly submitted to the Administrator within ninety days
of the date of the death of the Beneficiary. In the event any medical expense has been authorized
to be paid on a monthly basis, the Trustee shall pay only the pro rata share for the month of the
Beneficiary's death. The Trustee shall also pay any expenses of management and administration,
including the fees of the Trustee and Administrator. In the event there are insufficient funds to
pay both the expenses of management and administration and allowable medical expenses, the
Trustee shall first pay the expenses of management and administration. The Trustee shall make
no payments other than those authorized in this Section B and in Section C below. The
Administrator shall not authorize and the Trustee shall not pay for burial or funeral expenses.

Section C. Distribution of the Trust Estate

       After the Trustee has made the payments authorized above in Section B of this Article
XX, the Trustee shall expeditiously move for an Order of the District Court for the District of
New Mexico authorizing the Trustee to liquidate and distribute the remaining Trust Estate,
including any current and accumulated interest and income, to the United States by check made

________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 16 of 17




payable to the United States Treasury and delivered to the United States at the address on record
with the Trustee, along with a final statement of account. Upon such Order, the Trustee shall
immediately, upon receipt of such Order, liquidate and distribute the remaining Trust Estate,
including any current and accumulated income, to the United States as provided above and close
the Trust account.

                                                Article XXI
                                                Signatures

       By signing the Trust, the Trustee and the Administrator are accepting their respective
appointments by the United States District Court for the District of New Mexico.


Executed this ___ day of __________, 2021.



By: _________________               _
TRUSTEE:
The Irrevocable Reversionary Inter Vivos Medical Care Trust FBO N.E.D.
c/o Camilla Serrano, CTFA, Senior Vice President
New Mexico Bank and Trust




Executed this ___ day of __________, 2021.



By: _______                       ___________
ADMINISTRATOR:
Integrion Group, Inc.
P.O. Box 27815
Albuquerque, NM 87125




Executed this ___ day of __________, 2021.



By: ________________        __
GUARDIAN AD LITEM for N.E.D
Dennis Murphy, Esq.
________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
    Case 1:17-cv-00384-JAP-JHR Document 282-1 Filed 04/29/21 Page 17 of 17




APPROVED AS TO FORM:


/s/
Theodore W. Barudin
BARUDIN LAW FIRM, P.C.
7900 Menaul NE
Albuquerque, NM 87110
(505) 332-1800
tbarudin@barudinlaw.com

/s/
William H. Carpenter
WILLIAM H. CARPENTER LAW OFFICE
Post Office Box 35070
Albuquerque, NM 87176-5070 (505) 243-1336
bill@carpenter-law.com

/s/
Ronald I. Kaplan, MD, JD
KAPLAN & LUKOWSKI, LLP
333 Sandy Springs Circle
Suite 200
Atlanta, Georgia 30328
(404) 845-0012 (x202)
rik@kaplanlegal.com

Attorneys for Plaintiffs

-and-

FRED J. FEDERICI
Acting United States Attorney

/s/
ERIN E. LANGENWALTER
RUTH F. KEEGAN
Assistant United States Attorney
P.O. Box 607
Albuquerque, New Mexico 87103
(505) 224-1471
Erin.langenwalter@usdoj.gov
Ruth.Keegan@usdoj.gov

For Defendant United States

________________
Irrevocable Reversionary Intervivos Medical Care Trust for the Benefit of N.E.D.
Murphy, et al. v. the United States of America, No. 1:17-cv-384-JAP-JHR (D.N.M.)
